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 1                             DECLARATION OF LEO J. WISE
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 3          I, Leo J. Wise, declare as follows:
 4          1.    I am Principal Senior Assistant Special Counsel and represent the
 5   government in United States of America v. Robert Hunter Biden, No. CR 23-cr-00599-
 6   MCS.
 7          2.    This declaration is submitted in support of the government’s sixth motion in
 8   limine to exclude the delinquent payment of defendant’s taxes.
 9          3.    Attached hereto as Exhibit 1 is a true and correct copy of a Washington Post
10   article entitled, “Hunter Biden confirms he is under federal investigation,” dated
11   December 9, 2020.
12          I declare under penalty of perjury under the laws of the United States that the
13   foregoing is true and correct. Executed this 31st day of July, 2024, in Baltimore, M.D.
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                                                  /s/
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                                                  LEO J. WISE
18                                                Principal Senior Assistant Special Counsel
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